    4:17-cb-03003-CRZ         Doc # 12     Filed: 03/03/17      Page 1 of 2 - Page ID # 27



                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA
                                                  CASE NUMBER: 4:17CB3003
                      Plaintiff,
                                                  VIOLATION L0199394
       vs.

DAVID M. MARTINEZ,                                DEFENSE COUNSEL: MIKE HANSEN

                      Defendant.

                              JUDGMENT IN A CRIMINAL CASE
                                   (For a CVB violation)

THE DEFENDANT pleaded guilty to violation L0199394 on 02/23/2017.

ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following offense:

     Title, Section & Nature of Offense          Date Offense Concluded        Violation Number

43 USC 1733 – DISPOSING OF ANY                            4/07/2014                L0199394
HOUSEHOLD REFUSE OR WASTE
BROUGHT FROM PRIVATE PROPERTY

The defendant is sentenced as provided in pages 1 through 2 of this judgment.


IT IS ORDERED that the defendant shall notify the United States Attorney for this district within
30 days of any change of name, residence, or mailing address until all fines, restitution, costs
and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defendant shall notify the court and United States attorney of any material change in the
defendant’s economic circumstances.

                                                             Date of Imposition of Sentence:
                                                             February 23, 2017

                                                             s/ Cheryl R. Zwart
                                                             United States Magistrate Judge

                                                             March 3, 2017


                            CRIMINAL MONETARY PENALTIES

The defendant shall pay the following total criminal monetary penalties in accordance with the
schedule of payments set forth in this judgment.

        Total Assessment                     Total Fine                  Total Restitution

  $10.00 + $25.00 processing fee               $250.00                          $.00
     4:17-cb-03003-CRZ         Doc # 12     Filed: 03/03/17   Page 2 of 2 - Page ID # 28
Defendant: SHAWN A. SELPH                                                              Page 2 of 2
Case Number: 4:16MJ3052-001




                                               FINE
A Fine in the amount of $250.00, Special Assessment of $10.00, and Processing Fee of $25.00
are imposed.

                                          RESTITUTION

No restitution is hereby ordered.

                                 SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay; payment of the total criminal monetary penalties
shall be due as follows:

        Payment of $70.00 due 3/10/2017 to the Central Violation Bureau, P.O. Box 71363,
        Philadelphia, PA, 19176-1363.

        Payment of $65.00 due 4/10/2017 to the Central Violation Bureau, P.O. Box 71363,
        Philadelphia, PA, 19176-1363.

        Payment of $50.00 due 5/10/2017 to the Central Violation Bureau, P.O. Box 71363,
        Philadelphia, PA, 19176-1363.

        Payment of $50.00 due 6/09/2017 to the Central Violation Bureau, P.O. Box 71363,
        Philadelphia, PA, 19176-1363.

        Payment of $50.00 due 7/10/2017 to the Central Violation Bureau, P.O. Box 71363,
        Philadelphia, PA, 19176-1363.


        NOTE: Defendant is ordered to appear before Judge Cheryl R. Zwart on August 3,
        2017 at 8:30 a.m. in Courtroom 2, Denney Federal Building, 100 Centennial Mall North,
        Lincoln, Nebraska, if the fine and costs are not paid in full by that time.

____________________________________________________________________________
CLERK'S OFFICE USE ONLY:

ECF DOCUMENT

I hereby attest and certify this is a printed copy of a
document which was electronically filed with the
United States District Court for the District of Nebraska.

Date Filed:__________________________________

DENISE M. LUCKS, CLERK

By ______________________________________Deputy Clerk
